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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 9:21-cv-81270-DMM-WM

  MORRIS FLANCBAUM and
  SUSAN RIZZUTO,

         Plaintiffs,

  v.

  THE TYSON GROUP, INC.,
  a California corporation,

        Defendant.
  ________________________________/

       PLAINTIFFS MORRIS FLANCBAUM AND SUSAN RIZZUTO’S MOTION FOR
       SUMMARY JUDGMENT AND REQUEST FOR ENTRY OF FINAL JUDGMENT
                                THEREON

         Pursuant to Fed. R. Civ. P. 56 and Local Rule 56.1, Plaintiffs, MORRIS FLANCBAUM

  and SUSAN RIZZUTO, by and through their undersigned counsel, move for entry of a Summary

  Judgment, and, thereupon, pursuant to Fed. R. Civ. P. 58(d), Plaintiffs’ request entry of judgment

  against the Defendant, THE TYSON GROUP, INC. a California corporation. The Plaintiffs have

  filed contemporaneously herewith their Statement of Material Facts (ECF 27).

                                        LEGAL STANDARD

         Summary judgment is appropriate when the pleadings, depositions, and affidavits
         submitted by the parties show that no genuine issue of material fact exists and that
         the movant is entitled to judgment as a matter of law. Fed.R.Civ.P. 56(a). “An issue
         is ‘genuine' when a reasonable trier of fact, viewing all of the record evidence, could
         rationally find in favor of the nonmoving party in light of his burden of proof.” See
         Picardat v. City of Miami, No. 15-cv-24305-GAYLES, 2017 WL 1251897 at * 1
         (S.D. Fla. April 5, 2017) (citing Harrison v. Culliver, 746 F.3d 1288, 1298 (11th
         Cir. 2014)). A “material” fact is one that, under the applicable law, might affect the
         outcome of the case. See Hickson Corp. v. N. Crossarm Co., Inc., 357 F.3d 1256,
         1259-60 (11th Cir. 2004). “[T]he mere existence of some alleged factual dispute
         between the parties will not defeat an otherwise properly supported motion for

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          summary judgment; the requirement is that there be no genuine issue of material
          fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (emphasis in
          original). A genuine dispute of material fact exists “when there is sufficient
          evidence favoring the nonmoving party for a reasonable jury to return a verdict in
          its favor.” Jessup v. Miami-Dade County, 440 Fed. App'x. 689, 691 (11th Cir. 2011)
          (quotation marks and citation omitted).

  Turner v. Charter Sch. USA, Inc., No. 18-20045-CIV, 2020 U.S. Dist. LEXIS 6989 at ** 11-12

  (S.D. Fla. Jan. 14, 2020).

          When the nonmoving party bears the burden of proof at trial, the moving party can
          show either “that there is an absence of evidence to support the nonmoving party's
          case” or support its motion “with affirmative evidence demonstrating that the
          nonmoving party will be unable to prove its case at trial.” United States v. Four
          Parcels of Real Prop. in Greene & Tuscaloosa Ctys. in State of Ala., 941 F.2d 1428,
          1438 (11th Cir. 1991) (citation omitted). “If the moving party shows the absence of
          a triable issue by either method, the burden on summary judgment shifts to the
          nonmoving party, who must show that a genuine issue remains for trial.” Id. at 1438
          (citations omitted). “If the nonmoving party fails to make a sufficient showing on
          an essential element of [its] case with respect to which [it] has the burden of proof,
          the moving party is entitled to summary judgment.” Id. (quotation marks and
          citation omitted).

  Id. at 12-13.

          The Court must view the evidence and all reasonable factual inferences therefrom
          in the light most favorable to the nonmoving party. Ray v. Equifax Information
          Services, LLC, 327 Fed. App'x 819, 825 (11th Cir. 2009). In order to defeat
          summary judgment, “the nonmoving party must do more than simply show that
          there is some metaphysical doubt as to the material facts, ” id. at 825, and “must
          offer more than a mere scintilla of evidence for its position....” Picardat v. City of
          Miami, 2017 WL 1251897 at *1 (citation omitted). “If no reasonable jury could
          return a verdict in favor of the nonmoving party, there is no genuine issue of
          material fact and summary judgment will be granted.” Sada v. City of Altamonte
          Springs, 434 Fed. App'x 845, 847 (11th Cir. 2011) (citation omitted).

  Id. at 13.

          “Authentication or identification of evidence is required as a condition precedent to its

  admissibility. The requirements of this section are satisfied by evidence sufficient to support a

  finding that the matter in question is what its proponent claims.” § 90.901, Fla. Stat. Plaintiffs

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  have filed the original Convertible Promissory Note as Exhibit “A” to their Declaration in support

  of this motion (ECF 29). Plaintiff, MORRIS FLANCBAUM, has attested: (1) The Convertible

  Promissory Note is the same instrument Plaintiffs received from the he Maker, Defendant, THE

  TYSON GROUP, INC., in exchange for tendering the consideration of One Million Dollars

  ($1,000,000.00) on August 7, 2019, to the Maker, Defendant, THE TYSON GROUP, INC.; (2)

  Plaintiffs have continuously owned and held the Note; (3) Plaintiffs have not exercised and have

  relinquished the Conversion Privilege set forth in Section 2 of the Note; and (4) The Note has not

  been endorsed to any third party and is wholly owned by the Plaintiffs (ECF 29, ¶¶ 7-9).

                                       PROCEDURAL HISTORY

          On July 21, 2021, Plaintiffs, MORRIS FLANCBAUM and SUSAN RIZZUTO, filed their

  one count Complaint against Defendant, THE TYSON GROUP, INC. a California corporation,

  seeking a money judgment based upon an unpaid Convertible Promissory Note (“Note”) executed

  by the Defendant (ECF 1). On September 27, 2021, Plaintiffs filed the Declaration of Plaintiffs,

  MORRIS FLANCBAUM and SUSAN RIZZUTO, in support of Plaintiffs’ Motion for Summary

  Judgment (“Plaintiffs’ Declaration”)(ECF 29).

          Plaintiff MORRIS FLANCBAUM’S Declaration establishes this Court’s diversity

  jurisdiction as required by 28 U.S.C. § 1332(a)(1) as this cause of action is for a sum in excess of

  $75,000.00, exclusive of interest and costs, between citizens of different states (ECF 29, ¶¶ 2-4).

          The original Convertible promissory Note has been filed as Exhibit “A” to the Declaration

  of Plaintiff, MORRIS FLANCBAUM.

          Section 1 of the Note provides for simple interest at 5.5% per annum on the unpaid

  principal balance. The Note matured August 15, 2020, without payment of principal or interest by

  or on behalf of the Defendant.
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          On November 27, 2020, more than three (3) months after maturity date, Defendant paid

  Plaintiffs the sum of Five Hundred Thousand Dollars ($500,000.00), whereupon, after deducting

  the accrued interest to November 27, 2020, of Seventy-Two Thousand One Hundred Seventy-

  Eight Dollars and Eights Cents ($72,178.08), the principal balance due on the Note became Five

  Hundred Seventy-Two Thousand One Hundred Seventy-Eight Dollars and Eights Cents

  ($572,178.08) as of November 27, 2020.

          Defendant paid $2,661.17 towards the interest accruing on the $572,178.08 principal from

  November 27, 2020, through January 15, 2021, and another $2,661.17 towards the interest

  accruing on the $572,178.08 from January 15, 2021, through February 15, 2021. As a result, as

  of June 4, 2021, the outstanding simple interest balance on the $572,178.08 totaled $10,972.98.

          On June 4, 2021, Defendant paid accrued interest to date of $10,972.98, leaving a

  remaining principal balance of Five Hundred Seventy-Two Thousand One Hundred Seventy-Eight

  Dollars and Eights Cents ($572,178.08) plus penalty interest applicable under Section 16 of the

  Note.

          The current principal balance due from Defendant as of the date of the Statement of

  Material Facts is Five Hundred Seventy-Two Thousand One Hundred Seventy-Eight Dollars and

  Eights Cents ($572,178.08)(ECF 29, ¶ 12).

          Unpaid simple interest on the principal balance of the Note for the time period from June

  4, 2021, through September 30, 2021 (118 days at $86.22 per day), is Ten Thousand One Hundred

  Seventy-Three Dollars and Ninety-Six Cents ($10,173.96) and daily interest of Eighty-Six Dollars

  and Twenty-Two Cents ($86.22) continues to accrue from September 30, 2021 (ECF 29, ¶ 16).

          Section 16 of the Note states:


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          16. Penalty for Overdue Payment. In addition to the payment due set forth herein,
  if the Holder has not received payment in full on or before its due date, Company will pay
  Holder a penalty of 5.5% of the Principal then due and owing compounded monthly until
  such time as the Principal and Interest have been paid in full

          As the Note matured August 15, 2020, and Defendant had paid no principal or interest

  through that date, the penalty provision became effective and the penalty sum of Fifty-Five

  Thousand Dollars and No Cents ($55,000.00) became due as of that date; on the fifteenth (15th

  day of each month thereafter, commencing September 15, 2020, interest accrued on the penalty

  sum at the rate of 5.5% annual interest compounded monthly, which penalty interest totaled Fifty-

  Eight Thousand Three Hundred Sixty-Eight Dollars and Seventy-Four Cents ($58,368.74) as of

  September 15, 2021 (ECF 29, ¶ 18).

          As of September 30, 2021, the principal, interest and penalty due from the Defendant to

  the Plaintiffs is:

          Principal:       $572.178.08
          Interest:          10,173.96
          Penalty:         _ 58,368.74
          Total            $640,720.78 [See ECF 29, ¶ 19]

          After September 30, 2021, the simple interest is accruing at the rate of $86.22 per day on

  the unpaid principal balance of $572,178.08, and the penalty sum will increase to $58,368.74 on

  October 15, 2021, $58,905.01 on November 15, 2021, $59,174.99 on December 15, 2021, and

  $59,446.21 on January 15, 2022 (ECF 29, ¶ ¶ 20, 21).

          Section 5(a) of the Note states:

          5. Default. The entire unpaid principal of this Note and the interest then accrued on
  this Note shall become and be immediately due and payable upon written demand to the
  Company by the Holder of this Note, without any other notice or demand of any kind or
  any presentment or protest, if any one of the following events shall occur and be continuing
  at the time of such demand, whether voluntarily or involuntarily, or, without limitation,
  occurring or brought about by operation of law or pursuant to or in compliance with any

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  judgment, decree or order of any court or any order, rule or regulation of any governmental
  body: (a) the Company fails to pay principal or interest under this Note when due[.]

          Attached as Exhibit “B” to Plaintiff MORRI FLANCBAUM’S Declaration is the written

  demand for payment of the outstanding balance of the Note by July 1, 2021, served upon the

  Defendant.

          Defendant, THE TYSON COMPANY, INC., a California corporation, has failed and

  refused to pay the outstanding principal balance plus accrued interest and penalty due as required

  by the Note.

          Wherefore, Plaintiffs, MORRIS FLANCBAUM and SUSAN RIZZUTO, respectfully pray

  for the following relief:

          1. That this Court will enter summary judgment in their favor against Defendant, THE

               TYSON COMPANY, INC., a California corporation,

                       a.     in the principal sum of Five Hundred Seventy-Two Thousand One

                            Hundred Seventy-Eight Dollars and Eights Cents ($572,178.08);

                       b. plus interest of Ten Thousand One Hundred Seventy-Three Dollars and

                            Ninety-Six Cents ($10,173.96) and daily interest of Eighty-Six Dollars and

                            Twenty-Two Cents ($86.22) from September 30, 2021; and

                       c. penalty interest of $58,368.74 if judgment is entered from September 30,

                            2021 through October 14, 2021; or $58,636.26 if judgment is entered from

                            October 15, 2021, through November 14, 2021; or $58,905.01, if judgment

                            is entered from November 15, 2021 through December 14, 2021; or

                            $59,174.99, if judgment is entered from December 15, 2021 through



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                            January 14, 2022; or $59,446.21, if judgment is entered from January 15,

                            2022 through February 14, 2022;

                       d. plus taxable costs

               2. Plaintiffs request that, upon entering the summary judgment against the Defendant

                   in accordance with paragraph 1 above, the Court will direct the Clerk to enter

                   judgment against Defendant, THE TYSON COMPANY, INC., a California

                   corporation.

  Dated: September 27, 2021.

                                                                 Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 27th day of September 2021, a true and correct copy of

  the foregoing was served through the District Court’s CM/ECF portal on all counsel of record on

  the Service List below.


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